        Case 3:24-cr-02700-LS         Document 19        Filed 12/17/24    Page 1 of 3



                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                             EL PASO DIVISION

USA                            §
                               §
vs.                            §                        NO: EP:24-CR-02700(1)-LS
                               §
(1) AXL GERARDO RIVERA-RAMIREZ §

            REPORT AND RECOMMENDATION OF MAGISTRATE JUDGE
                    UPON DEFENDANT’S PLEA OF GUILTY

       On this 17th day of December, 2024, the Defendant and counsel appeared before the

Court. After being admonished as required by Rule 11, Fed.R.Crim.P., the Defendant pled

guilty to the Indictment charging him in Count One with Illegal Re-Entry, in violation of Title 8

U.S.C. § 1326(a).

       Accordingly, the Court makes the following findings:

       1.     The Defendant has consented to the entry of a guilty plea before a Magistrate

              Judge, subject to final approval and sentencing by the presiding United States

              District Judge.

       2.     The Defendant fully understands the oath and the consequences of failing to tell

              the truth at the plea hearing.

       3.     The Defendant fully understands the right to plead “not guilty” and to be tried by a

              jury.

       4.     The Defendant fully understands the right to be represented by counsel at trial and

              at every other stage of the proceeding.

       5.     The Defendant fully understands the right to a trial and that if the Defendant were

              to elect to go to trial, the Defendant would have the right to confront and
 Case 3:24-cr-02700-LS           Document 19      Filed 12/17/24        Page 2 of 3



      cross-examine      adverse    witnesses,    to   be       protected   from   compelled

      self-incrimination, to testify and present evidence, and to compel the attendance of

      witnesses.

6.    The Defendant fully understands that if the guilty plea is accepted, there will not

      be a trial in this case.

7.    The Defendant fully understands the nature of the charge, the immigration

      consequences, and the maximum possible penalties, including any imprisonment,

      applicable mandatory minimum penalties, fine, term of supervised release, as well

      as any forfeiture or restitution.     The defendant also understands the court’s

      obligation to impose a special assessment.

8.    The Defendant fully understands that in determining sentence, the sentencing

      court will consider the applicable Sentencing Guidelines, including any departures

      that might be applicable, as well as the sentencing factors under 18 U.S.C. §

      3553(a). The Defendant also fully understands that although the sentencing court

      will consider the applicable sentencing guidelines, they are advisory in nature.

9.    The Defendant’s plea was not induced by any promises, and the Defendant’s plea

      was not induced by any threats, force or threats of force.

10.   The Defendant acknowledged that defense counsel explained the immigration

      consequences of the plea of guilty.

11.   The Defendant is competent to enter a plea.

12.   The Defendant’s plea is made freely, knowingly, and voluntarily.

13.   There is a factual basis to support the plea of guilty.
         Case 3:24-cr-02700-LS         Document 19       Filed 12/17/24   Page 3 of 3



                                    RECOMMENDATION

       Based on the foregoing, it is recommended to the district judge that the Defendant’s plea

of guilty be accepted and that a judgment of guilt be entered.

       SIGNED and ENTERED this 17th day of December, 2024.


                                                    ______________________________
                                                    ROBERT F. CASTANEDA
                                                    UNITED STATES MAGISTRATE JUDGE



                                            NOTICE

FAILURE TO FILE WRITTEN OBJECTIONS TO THE FINDINGS AND
RECOMMENDATION CONTAINED IN THE FOREGOING REPORT, PRIOR TO
SENTENCING, MAY BAR DE NOVO DETERMINATION BY THE DISTRICT JUDGE
OF AN ISSUE COVERED HEREIN AND SHALL BAR APPELLATE REVIEW OF
SUCH FACTUAL FINDINGS AS MAY BE ACCEPTED OR ADOPTED BY THE
DISTRICT JUDGE.
